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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Times New Roman" STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;
&lt;CENTER&gt;NO. 03-0&lt;A NAME="1"&gt;1&lt;/A&gt;-00&lt;A NAME="2"&gt;164&lt;/A&gt;-CR&lt;/CENTER&gt;


&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;



&lt;CENTER&gt;&lt;A NAME="3"&gt;Micah Burns&lt;/A&gt;, Appellant&lt;/CENTER&gt;


&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;
&lt;SPAN STYLE="font-family: Times New Roman" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;TRAVIS&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;147TH&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;0990832&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;WILFORD FLOWERS&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;


PER CURIAM

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;This is an appeal from a judgment of conviction for attempted aggravated sexual
assault.  Sentence was imposed on February 6, 2001.  There was no motion for new trial.  The
deadline for perfecting appeal was therefore March 8, 2001.  &lt;EM&gt;See &lt;/EM&gt;Tex. R. App. P. 26.2(a)(1).  Notice
of appeal was filed on March 12.  No extension of time for filing notice of appeal was requested. 
&lt;EM&gt;See &lt;/EM&gt;Tex. R. App. P. 26.3.  There is no indication that notice of appeal was properly mailed to the
district clerk within the time prescribed by rule 26.2(a).  &lt;EM&gt;See &lt;/EM&gt;Tex. R. App. P. 9.2(b).  Under the
circumstances, we lack jurisdiction to dispose of the purported appeal in any manner other than by
dismissing it for want of jurisdiction.  &lt;EM&gt;See Slaton v. State&lt;/EM&gt;, 981 S.W.2d 208 (Tex. Crim. App.1998);
&lt;EM&gt;Olivo v. State&lt;/EM&gt;, 918 S.W.2d 519, 522-23 (Tex. Crim. App. 1996).&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;The appeal is dismissed.&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Before Justices Kidd, B. A. Smith and Puryear&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Dismissed for Want of Jurisdiction&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Filed:   June 14, 2001 &lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Do Not Publish&lt;/SPAN&gt;&lt;/P&gt;

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